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    MOTION for Release of Work Emails
  Further Attempt to Request Email History
              with Defendant
                                  Willie Lee HavMmeri, Plaintiff
                                               vs.
                               Methodist Health Systems, Defendant

                                   Case No. 3:22-cv-00594-E-BT

                  U.S. District Court Northern District of Texas (Dallas)

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Deakins Nash Smoak & Stewart PC
(Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022

Today’s Date: June 30, 2023

Greetings Judge Ada Brown

Greetings to the Court. I would like to make a further request for my complete email history
with the Defendant (Methodist). This would be my 2nd attempt before the court to secure
these documents. This is my 4th request to the Defendant.

1.From the time of my impromptu Termination on April 10th 2020, I have made several
attempts (while representing myself) to secure the emails from my previous employer to which
I can show a long history of informing the company of several instances of having to endure
workplace violence and my frustrations with Gender Discrimination, as I allege in my Case
before the court regarding WRONGFUL TERMINATION, DUE TO RETALIATION AND GENDER
DISCRIMINATION.

2. These emails are critical to my case regarding RETALIATION, GENDER BIAS with regards to
consequences and ultimately WRONGFUL termination for manipulation of financial documents.

3. Please do not dismiss my case before justice is served.
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4. The Defendant has yet to prove my termination as justified nor have they offered any
evidence that it was lawfully executed.

5. The Defendant has willfully and intentionally withheld pertinent information (emails with my
immediate supervisor in the chain of command) that completely exonerate me of wrong doing,
as alleged.

6. Please grant me the request of securing my emails to further provide the proof necessary
regarding my claims.

7. Please allow my case to move forward towards discovery/disclosure.

8. The Defendant has provided the Court with no evidence that I manipulated any financial
documents over the course of the past year of docket submissions before the Court.


I look forward to hearing from you and pray that justice prevails.

Thank you for your patience with me in regards to my limited legal knowledge and experience with
addressing the Court.

Respectfully submitted,

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”

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